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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                     OFFICE OF THE CLERK

 JEFFREY P. COLWELL
                                                                                  Room A-105
 CLERK OF COURT                                                     Alfred A. Arraj United States Courthouse
                                                                                 901 19th Street
                                                                            Denver, Colorado 80294
                                                                              Phone(303) 844-3433
 January 24, 2025                                                            www.cod.uscourts.gov


 Clerk
 U.S. Court of Appeals for the Tenth Circuit
 Byron White United States Courthouse
 1823 Stout Street
 Denver, CO 80257

 RE: USA v. Kimberley Ann Tew

 District Court Case No. 20-cr-00305-DDD-2
 Court of Appeals Case No. 24-1333

 Dear Clerk:

 Enclosed please find the Record on Appeal in   (6)volume s which consist of the IROORZLQJ


 Volume I - Pleadings (conventionally Submitted Material Sent to 10th Circuit )
 Volume II - Pleadings
 Volume III - Restricted Documents
 Volume IV - Unrestricted Transcripts
 Volume V - 90 Day Transcripts
 Volume VI - COURT ONLY Restricted

                                                       JEFFREY P. COLWELL, CLERK


                                                       By: s/ A. Garcia Garcia
                                                       Deputy Clerk
